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                                                                               United States Bankruptcy Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                         UNITED STATES BANKRUPTCY COURT                               May 10, 2022
                           SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                VICTORIA DIVISION

In re:                                       §     Case No. 22-60020
                                             §
INFOW, LLC, et al.,                          §     Chapter 11 (Subchapter V)
                                             §
    Debtors.                                 §     Jointly Administered
                                             §

                    ORDER SETTING STATUS CONFERENCE

    1. The requests for an order to set a status conference are granted.

    2. A status conference is set for May 13, 2022 at 1:00 p.m.




         August
         May     02, 2019
             10, 2022
